Case 1:18-cr-00338-NAM Document 87-1 Filed 12/15/21 Page 1 of 11

Edward B. Lefebvre
I Counsel, Commercial Litigation & Contracts
GE Gas Power

1 River Road, 40/502M
Schenectady, NY 12345

E: ted.lefebvre@ge.com
T:+1 518 630 9940
www.ge.com

United States District Court, Northern District of New York

Attn: Clerk’s Office

James T. Foley U.S. Courthouse

445 Broadway, Suite 509

Albany, New York 12207

December 10, 2021

Via Courier
Re: United States v. Delia et al., No. 1:18-cr-00338
Dear Madam or Sir:

I write on behalf of General Electric Company (“GE”), the victim in the above-captioned
matter.

I understand that the Court has entered judgment against each of the two named
defendants in this matter: one judgment entered December 13, 2019 against Mr. Miguel
Sernas (by Hon. Mordue, Entry No. 53), and one judgment entered November 12, 2021
against Mr. Jean Patrice Delia (by Hon. D'Agostino, Entry No. 83). I have enclosed copies of
both these judgments - each of which, as you will see, orders payment of $1,400,000 in
restitution to GE.

In accordance with 18 U.S.C. § 3664(m)(1)(A)(ii)(B), GE respectfully asks that your office
kindly issue an abstract of judgment certifying that these two judgments have been entered
in favor of GE in the amounts specified. A proposed form of Abstract of Judgment is
enclosed for your review and issuance, together with (1) a check for $11, payable to “Clerk,
U.S. District Court,” and (2) a pre-paid return pouch.

I also understand that one defendant, Mr. Delia, may have recently paid a sum of money in
to the Court in partial satisfaction of the restitution he owes. As any such funds payable to
GE are received, GE respectfully asks that they be forwarded to the following address:

General Electric Company

Attention: General Counsel, GE Gas Power
1 River Road

Schenectady, New York 12345

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Case 1:18-cr-00338-NAM Document 87-1 Filed 12/15/21 Page 2 of 11

Should you have any questions or concerns, please do not hesitate to contact me. I
appreciate your kind assistance with this matter.

Very truly yours,

(A ANE

Edward B. Lefebvre

cc (via Email, without enclosures): michael.barnett@usdoj.gov (Michael S. Barnett)
scott@scottisemanlaw.com (Scott W. Iseman)
office@bwvlaw.com (Paul S. Volk)

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AO 245B NNY (Rev. 09/19) GAGEtItABHGre08338-NAM Document 53 Filed 12/13/19 Page 1 of 4

UNITED STATES DISTRICT COURT

Northern District of New York

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.
Case Number: DNYN 1:18CR00338-002
Miguel Sernas USM Number: 57123-039

Scott W. Iseman & Michael P. McDermott
54 State Street, 9th Floor

Albany, NY 12207-2501

518-462-5601

Defendant’s Attorney

THE DEFENDANT:
1 of the Indictment on May 15, 2019.

& pleaded guilty to count(s) 1
C pleaded nolo contendere to count(s) which was accepted by the court.
O_ was found guilty on count(s) of the on after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended
18 U.S.C. § 1832(a)(5) Conspiracy to Steal Trade Secrets 10/15/2013

Count

1

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed in accordance with 18 U.S.C.

§ 3553 and the Sentencing Guidelines.

O The defendant has been found not guilty on count(s)
O Count(s) Dis (are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,

the defendant must notify the court and United States attorney of material changes in economic circumstances.

December 10, 2019

Date of Imposition of Judgment

rman A. Mordue

Senior U.S. District Judge

December 13, 2019

Date
Case 1:18-cr-00338-NAM Document 87-1 Filed 12/15/21 Page 5 of 11

AO 245B NNY (Rev. 09/19) GQ8@t itd 8nGe0O338-NAM Document 53 Filed 12/13/19 Page 2 of 4

Sheet 2 - Imprisonment

Judgment - Page 2 of 4

DEFENDANT: Miguel Sernas
CASE NUMBER: DNYN 1:18CR00338-002

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
Time Served
(the defendant has been in custody since his arrest on December 4, 2018)
No term of supervised release is imposed pursuant to USSG §5D1.1(c)

The court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:

O at Oam. O p.m. on.

QO as notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
1 before 2 p.m. on.

OC as notified by the United States Marshal.

OC as notified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

at

Defendant delivered on to
with a certified copy of this judgment.

UNITED STATES MARSHAL

BY DEPUTY UNITED STATES MARSHAL
Case 1:18-cr-00338-NAM Document 87-1 Filed 12/15/21 Page 6 of 11
Case 1:18-cr-00338-NAM Document 53 Filed 12/13/19 Page 3 of 4

AO 245B NNY (Rev. 09/19) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment ~ Page 3 of 4
DEFENDANT: Miguel Sernas

CASE NUMBER: DNYN 1:18CR00338-002

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* AVAA Assessment** Fine Restitution
TOTALS $ 100 $0 $0 $0 $ 1,400,000

C1 The determination of restitution is deferred until. An Amended Judgment in a Criminal Case (AO 245C) will be entered after such
determination.

XX The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
General Electric Company $ 1,400,000 $ 1,400,000
Totals $ 1,400,000 $ 1,400,000

Xl Restitution amount ordered pursuant to plea agreement $ 1,400,000

C The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject to
penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

& The court determined that the defendant does not have the ability to pay interest and it is ordered that:
XX the interest requirement is waived for the 1 fine & restitution.
OC) the interest requirement for the O fine O restitution is modified as follows:

*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

**Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.

***Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
Case 1:18-cr-00338-NAM Document 87-1 Filed 12/15/21 Page 7 of 11
Case 1:18-cr-00338-NAM Document 53 Filed 12/13/19 Page 4 of 4

AO 245B NNY (Rev. 09/19) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

Judgment - Page 4 of 4
DEFENDANT: Miguel Sernas

CASE NUMBER: DNYN 1:18CR00338-002

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A OC In full immediately; or
B CO Lump sum payment of $ due immediately; balance due
C1 not later than, or
O inaccordancewith OOD, OE, OF, or OO) Gbelow;or
Payment to begin immediately (may be combined with UID, OF, or G below); or
D CO Payment in equal installments of $ over a period of, to commence after the date of this judgment; or
C Payment in equal installments of $ over a period of, to commence after release from imprisonment to a term of supervision; or

F O Payment during the term of supervised release will commence within after release from imprisonment. The court will set the
payment plan based on an assessment of the defendant’s ability to pay at that time; or

G & Special instructions regarding the payment of criminal monetary penalties:
The special assessment is due immediately. This restitution is due immediately, with any remaining restitution payable at a minimal
rate of 25% of your gross income while incarcerated and a minimal rate of $100 per month or 10% of your gross income, whichever
is greater, upon your release from imprisonment. If at any time you have the resources to pay full restitution, you must do so
immediately. You shall begin paying restitution while incarcerated.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to Clerk, U.S. District Court, Federal Bldg., 100 S. Clinton Street, P.O. Box 7367, Syracuse, N.Y. 13261-
7367, unless otherwise directed by the court, the probation officer, or the United States attorney. If a victim cannot be located, the restitution
paid to the Clerk of the Court for that victim shall be sent to the Treasury, to be retrieved when the victim is located.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
&) Joint and Several

& Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,

and corresponding payee, if appropriate.

Jean Patrice Delia 1:18CR00338-001, total amount

C The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or
part of the restitution ordered herein and may order such payment in the future.

(1 The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

X The defendant shall forfeit the defendant’s interest in the following property to the United States:
The property outlined in the Preliminary Order of Forfeiture.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
Case 1:18-cr-00338-NAM Document 87-1 Filed 12/15/21 Page 8 of 11
AO 245B NNY (Rev. 09/19) Gagarin IBxGe0AS38-MAD Document 83 Filed 11/12/21 Page 1 of 4

UNITED STATES DISTRICT COURT

Northern District of New York

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.
Case Number: DNYN 1:18CR00338-001
Jean Patrice Delia USM Number: 26024-052
Paul S. Volk
P.O. Box 8
Burlington, VT 05402

802-862-8919

Defendant’s Attorney
THE DEFENDANT:

pleaded guilty to count(s) 1 of the Indictment on December 10, 2019.
O pleaded nolo contendere to count(s) which was accepted by the court.
0 was found guilty on count(s) of the on after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended
18 U.S.C. § 1832(a)(5) Conspiracy to Steal Trade Secrets 10/15/2013

Count

1

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed in accordance with 18 U.S.C.

§ 3553 and the Sentencing Guidelines.

O The defendant has been found not guilty on count(s)
O Count(s) 0 is Clare dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,

the defendant must notify the court and United States attorney of material changes in economic circumstances.

November 10, 2021

Date of Imposition of Judgment

Lhe Dilprtks

Mae A. D' Agosting/”
U.S. District Judge

11/12/2021

Date
Case 1:18-cr-00338-NAM Document 87-1 Filed 12/15/21 Page 9 of 11

AO 245B NNY (Rev. 09/19) GaReth GnGheOAS38-MAD Document 83 Filed 11/12/21 Page 2 of 4

Sheet 2 — Imprisonment

Judgment — Page 2 of 4

DEFENDANT: Jean Patrice Delia
CASE NUMBER: DNYN 1:18CR00338-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

24 months
No term of supervised release is imposed pursuant to USSG §5D1.1(c)

The court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:

O at QOam. Op.m.on.

QO as notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
O before 2 p.m. on.

O as notified by the United States Marshal.

O as notified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

at

Defendant delivered on to

with a certified copy of this judgment.

UNIITED STATES MARSHAL

BY DEPUTY UNITED STATES MARSHAL
Case 1:18-cr-00338-NAM Document 87-1 Filed 12/15/21 Page 10 of 11
Case 1:18-cr-00338-MAD Document 83 Filed 11/12/21 Page 3 of 4

AO 245B NNY (Rev. 09/19) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment - Page 3 of 4
DEFENDANT: Jean Patrice Delia

CASE NUMBER: DNYN 1:18CR00338-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* AVAA Assessment** Fine Restitution
TOTALS $ 100 $0 $0 $0 $ 1,400,000

CJ The determination of restitution is deferred until. An Amended Judgment in a Criminal Case (AO 245C) will be entered after such
determination.

& The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in

the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
General Electric Company $ $ 1,400,000
Totals $ $ 1,400,000

& Restitution amount ordered pursuant to plea agreement $ 1,400,000

C1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject to
penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

&] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
XX the interest requirement is waived forthe 1 fine restitution.
C1 the interest requirement for the O fine CO restitution is modified as follows:

*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

**Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.

***Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
Case 1:18-cr-00338-NAM Document 87-1 Filed 12/15/21 Page 11 of 11
Case 1:18-cr-00338-MAD Document 83 Filed 11/12/21 Page 4 of 4

AO 245B NNY (Rev. 09/19) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

Judgment — Page 4 of 4
DEFENDANT: Jean Patrice Delia

CASE NUMBER: DNYN 1:18CR00338-001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A UO In full immediately; or
B CO Lump sum payment of $ due immediately; balance due

C] not later than, or

[] inaccordance with OID, OE, OF, or UO Gbelow; or

Cc Payment to begin immediately (may be combined with TJD, ODE, or XX G below); or

D (C) Payment in equal installments of $ over a period of, to commence after the date of this judgment; or

E (© Payment in equal installments of $ over a period of, to commence after release from imprisonment to a term of supervision; or
F C) Payment during the term of supervised release will commence within after release from imprisonment. The court _ will set the

payment plan based on an assessment of the defendant’s ability to pay at that time; or

G Special instructions regarding the payment of criminal monetary penalties:
The special assessment is due immediately. Restitution is due immediately, with any remaining restitution payable at a minimal rate
of 25% of your gross income while incarcerated and a minimal rate of $100 per month or 10% of your gross income, whichever is
greater, upon your release from imprisonment. If at any time you have the resources to pay full restitution, you shall do so immediately.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to Clerk, U.S. District Court, Federal Bldg., 100 S. Clinton Street, P.O. Box 7367, Syracuse, N.Y. 13261-
7367, or to pay electronically, visit www.nynd.uscourts.gov for instructions, unless otherwise directed by the court, the probation officer, or
the United States attorney. If a victim cannot be located, the restitution paid to the Clerk of the Court for that victim shall be sent to the
Treasury, to be retrieved when the victim is located.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
XX Joint and Several
XX] Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

Miguel Sernas DNYN 1:18CR00338-001, total amount

L] The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or
part of the restitution ordered herein and may order such payment in the future.

L] The defendant shall pay the cost of prosecution.

[1 The defendant shall pay the following court cost(s):

XI

The defendant shall forfeit the defendant’s interest in the following property to the United States:
The property outlined in the Preliminary Order of Forfeiture.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) J)VTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
